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                                                                                             FILED
                                                                                       U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT ARKANSAS
                            IN THE UNITED STATES DISTRICT COURT                              FEB 21 2020
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

REGGIE SWINTON

vs.                            CASE NO.

10 FITNESS INC., RODNEY PARHAM                                                     DEFENDANT

                                          COMPLAINT

       Now comes the Plaintiff, Reggie Swinton, by and through his counsel, Lloyd W. "Tre'"

Kitchens, of The Brad Hendricks Law Firm, and for his Complaint states as follows:

       1.      Plaintiff is an African American individual resident of Pulaski County, Arkansas.

       2.      Defendant 10 Fitness Inc., Rodney Parham is a domestic for-profit corporation.

Service may be obtained by serving the registered agent Eric Bucker at 1001 Rushing Circle, Suite

D, Little Rock, AR 72204.

       3.      The events complained of herein occurred in Pulaski County, Arkansas.

       4.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and is the proper venue

pursuant to 28 U.S.C. §1391.

                                              FACTS

       5.      The parties to this litigation entered into a membership contract whereby Plaintiff

would have access and use of the health club facilities on Rodney Parham Road in Little Rock,

Arkansas. The contract is not attached because the Plaintiff is no longer in possession of it.

       6.      Plaintiff used the Defendant's facility for years.

       7.      On or about 09/20/2019 the Plaintiff was exercising at the Defendant's facility at

about 2:00 p.m.
                                                      This case assigned to District Judge    Ry,Jofsl4{
                                                      and to Magistrate Judge       l<t/l(()<r.,,Y


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       8.         At that time the Plaintiff suffered an asthma attack and started wheezing.

       9.         The Plaintiff called his son to bring his asthma inhaler form the house.

        10.       Soon thereafter a woman, a white female, who was working out in the facility, and

was also an employee of the Defendant chastised the Plaintiff, saying, "stop staring at me shit."

        11.       The offending employee followed up with saying, "I work here and I can have you

kicked out" and then went upstairs to get the manager Joe Davis, a white male.

        12.       Mr. Davis told the Plaintiff he had to leave the facility.

        13.       Plaintiff then asked the general manager of the facility Brett Smith, a white man,

his opinion of the situation. Ms. Smith also said the Plaintiff had to leave.

        14.       When the Plaintiff asked why he had to leave Mr. Smith told him it was because he

was looking at the white female employee.

        15.       By kicking the Plaintiff out of the facility for allegedly looking at a white female,

which Plaintiff did not do, the Defendant constructively terminated the contract between the parties

due to the Plaintiffs race.

                                          COUNTI
                                  VIOLATION OF 42 U.S.C. §1981

        16.       Plaintiff restates and incorporates the preceding paragraphs as if set forth herein

verbatim.

        17.       Plaintiff is a member of a protected class, African American.

        18.       Defendant constructively terminated its contract with the Plaintiff on account of the

Plaintiffs race.

        19.       Any alleged reason for the Defendant's actions are mere pretext for racial

discrimination.




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        20.    Plaintiff met all legitimate obligations and expectations of the agreement between

the parties.

        21.    The actions of the Defendant have damaged the Plaintiff.

        WHEREFORE, Plaintiff prays for a judgment against the Defendant in an amount in excess

of the minimum amount for Federal Diversity of Citizenship cases ($75,000), for attorney's fees

and costs, and all other just and proper relief.

                                                       Respectfully submitted:

                                                       The Brad Hendricks Law Firm
                                                       500 C Pleasant Valley Dr.
                                                       Little Rock, AR 72227
                                                       (501) 221-0444 (P)
                                                       (501) 6610-196 (F)
                                                       tkitchens@bradhendricks.com

                                                              ~
                                                       By: _I_V_~
                                                              _______
                                                       Lloyd W. "Tre" Kitchens, ABN 99075



                                          VERIFICATION

        I have read the above and foregoing and it is true and correct to the best of my knowledge
and belief. Wherein I set my hand and seal this ~ day of F:,eqD,H!l~~ 20.




STATE OF ARKANSAS               )
COUNTY OF PULASKI               )

        Sworn to and subscribed before me, a Notary Public, on this   I1f±J day of February.




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